          Case 5:24-cr-00277-JMG Document 1-1 Filed 08/01/24 Page 1 of 1

                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                          INDICTMENT

DESIGNATION FORM to be used by counsel to indicate the category of the case for the
purpose of assignment to appropriate calendar.
Address of Plaintiff: 504 W. Hamilton St., #3701, Allentown, PA 18101

Post Office:   Allentown                              County:     Lehigh

City and State of Defendant: Haddon Township, New Jersey

County:    Camden County               Register number:

Place of accident, incident, or transaction:          Eastern District of Pennsylvania

Post Office: Allentown                                County: Lehigh
RELATED CASE, IF ANY:
Criminal cases are deemed related when the answer to the following question is Ayes@.
       Does this case involve a defendant or defendants alleged to have participated in the same
       action or transaction, or in the same series of acts or transactions, constituting an offense
       or offenses?

     YES/NO: No
     Case Number:                          Judge:
CRIMINAL: (Criminal Category - FOR USE BY U.S. ATTORNEY ONLY)
1.                Antitrust
2.                Income Tax and other Tax Prosecutions
3.                Commercial Mail Fraud
4.                Controlled Substances
5.               Violations of 18 U.S.C. Chapters 95 and 96 (Sections 1951-55 and 1961-68)
               and Mail Fraud other than commercial
6.               General Criminal
       (U.S. ATTORNEY WILL PLEASE DESIGNATE PARTICULAR CRIME AND
       STATUTE CHARGED TO BE VIOLATED AND STATE ANY PREVIOUS
       CRIMINAL NUMBER FOR SPEEDY TRIAL ACT TRACKING PURPOSES)
       18 U.S.C. § 1112 (involuntary manslaughter – 1 count)
       49 U.S.C. § 46306(b)(7) (serving as an airman without a certificate – 40 counts)


DATE: August 1, 2024                           s/ Robert W. Schopf
                                               Robert W. Schopf
                                               Assistant United States Attorney
File No. 2024R00088
US v Philip McPherson
